866 F.2d 1416Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Keith A. CAMPBELL, Defendant-Appellant.
    No. 88-6053.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 31, 1988.Decided:  Jan. 26, 1989.
    
      Keith A. Campbell, appellant pro se.
      James Michael Sullivan, Office of the U.S. Attorney, for appellee.
      Before K.K. HALL, SPROUSE, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Keith A. Campbell appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Campbell, C/A No. 88-729-AM;  CR No. 85-182-A (E.D.Va. June 14, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    